

Matter of Zorn (2017 NY Slip Op 03761)





Matter of Zorn


2017 NY Slip Op 03761


Decided on May 10, 2017


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 10, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RANDALL T. ENG, P.J.
WILLIAM F. MASTRO
REINALDO E. RIVERA
MARK C. DILLON
HECTOR D. LASALLE, JJ.


2016-03356

[*1]In the Matter of Stephen A. Zorn, admitted as Stephen Alan Zorn, a suspended attorney, respondent. (Attorney Registration No. 2136786)



DISCIPLINARY PROCEEDING APPLICATION pursuant to 22 NYCRR 1240.10 by Stephen A. Zorn, who was admitted to the Bar at a term of the Appellate Division of the Supreme Court in the First Judicial Department on June 1, 1987, under the name Stephen Alan Zorn, to resign as an attorney and counselor-at-law. By decision and order on motion dated August 22, 2016, this Court, inter alia, immediately suspended the respondent from the practice of law pursuant to former 22 NYCRR 691.4(l)(1)(i) and (iii), based upon his failure to comply with the lawful demands of the Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts in the investigation of a complaint of professional misconduct, and other uncontroverted evidence of professional misconduct, and authorized the Grievance Committee to institute and prosecute a disciplinary proceeding against the respondent based upon a verified petition dated April 12, 2016. The respondent received an enlargement of time to file an answer until December 2, 2016. This Court received the respondent's answer on December 1, 2016.



Diana Maxfield Kearse, Brooklyn, NY (David W. Chandler of counsel), for the Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts.
Scalise &amp; Hamilton LLP, Scarsdale, NY (Deborah A. Scalise of counsel), for respondent.



PER CURIAM.


OPINION &amp; ORDER
The respondent, Stephen A. Zorn, admitted as Stephen Alan Zorn, has submitted an affidavit sworn to on February 8, 2017, in support of his application to resign as an attorney and counselor-at-law (see  22 NYCRR 1240.10).
The respondent acknowledges in his affidavit that he is the subject of disciplinary charges pending before this Court, as set forth in a petition dated April 12, 2016, which include misappropriation of funds in a real estate transaction where he represented the seller, Leslie Bensi, and failure to cooperate with the Grievance Committee for the Second, Eleventh, and Thirteenth Judicial Districts in connection with its investigation into allegations of professional misconduct against him. The respondent avers that he cannot successfully defend himself against the charges based upon the facts and circumstances of his professional conduct. The respondent further acknowledges that his resignation is freely and voluntarily rendered; that he is not being subjected to coercion or duress by anyone; and that he is fully aware of the implications of submitting his resignation, including that the Court's acceptance and approval shall result in the entry of an order of disbarment striking his name from the roll of attorneys and counselors-at-law.
As to the issue of restitution, the respondent attests that he has made full restitution [*2]to Bensi in the amount of $21,250. The respondent also acknowledges that the resignation is submitted subject to any future application that may be made by the Grievance Committee for an order, pursuant to Judiciary Law § 90(6-a), directing that he make restitution or reimburse the Lawyers' Fund for Client Protection, and that he consents to the Court's continuing jurisdiction to make such an order.
The respondent also acknowledges and agrees that pending the issuance of this order accepting his resignation, he would not undertake to represent any new clients or accept any retainers for future legal services to be rendered and that there will be no transactional activity in any fiduciary account to which he has access, other than for payment of funds held therein on behalf of clients or others entitled to receive them.
Lastly, the respondent acknowledges that in the event that the Court accepts his resignation, the order resulting therefrom and the records and documents filed in relation to the aforementioned charges and allegations, including this affidavit, shall be deemed public records pursuant to Judiciary Law § 90(10).
The Grievance Committee recommends that the respondent's application to resign be granted.
Inasmuch as the respondent's application to resign complies with the requirements of 22 NYCRR 1240.10, the application is granted, and, effective immediately, the respondent is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law.
ENG, P.J., MASTRO, RIVERA, DILLON and LASALLE, JJ., concur.
ORDERED that the application of Stephen A. Zorn, admitted as Stephen Alan Zorn, a suspended attorney, to resign as an attorney and counselor-at-law is granted; and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, Stephen A. Zorn, admitted as Stephen Alan Zorn, is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law; and it is further,
ORDERED that Stephen A. Zorn, admitted as Stephen Alan Zorn, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see  22 NYCRR 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, Stephen A. Zorn, admitted as Stephen Alan Zorn, shall desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that if Stephen A. Zorn, admitted as Stephen Alan Zorn, has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency, and he shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Aprilanne Agostino
Clerk of the Court








